 Case 5:04-cr-00058        Document 217        Filed 05/15/09      Page 1 of 2 PageID #: 1104




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                      BECKLEY DIVISION


UNITED STATES OF AMERICA,

                               Plaintiff,

v.                                                    CRIMINAL ACTION NO. 5:04-cr-00058-1

WILLIE L. DUMAS, III,

                               Defendant.

                                             ORDER


       Pending before the court is the defendant’s Motion for Retroactive Application of Sentencing

Guidelines [Docket 185]. On November 1, 2007, the United States Sentencing Guidelines were

amended to reduce by two levels the guidelines in Section 2D1.1 for cocaine base (also known as

crack). Subsequently, the Sentencing Commission amended Section 1B1.10 to make the crack

amendment retroactive, effective March 3, 2008.

       Not every crack cocaine offender, however, is eligible for a lower sentence based on the

amendment to Section 2D1.1. After reviewing the presentence investigation report and judgment

order in this case, the court FINDS that the defendant is not eligible for a reduced sentence because

he was a career offender, based on his prior convictions for other offenses, and accordingly his base

offense level was assigned pursuant to Section 4B1.1. This offense level is unaffected by the

amendment to Section 1B1.10. Accordingly, the defendant’s motion is DENIED.




       The Clerk is DIRECTED to send a copy of this Order to the Federal Public Defender, the
 Case 5:04-cr-00058       Document 217       Filed 05/15/09     Page 2 of 2 PageID #: 1105




Defendant, the United States Attorney, and the United States Probation Office.


                                                   ENTER:         May 15, 2009
